                                      CASE 0:21-cr-00260-ECT-TNL Doc. 5 Filed 11/02/21 Page 1 of 1

                                                  IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF MINNESOTA

                                                      INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                   )            COURTROOM MINUTES - CRIMINAL
                                                            )              BEFORE: BECKY R. THORSON
                                         Plaintiff,         )                  U.S. Magistrate Judge
                                                            )
   v.                                                       )    Case No:               21-mj-818 BRT
                                                            )    Date:                  November 2, 2021
 Kevin Alan Aguilar-Moreno,                                 )    Video Conference
                                                            )    Time Commenced:        1:23 p.m.
                                         Defendant,         )    Time Concluded:        1:39 p.m.
                                                                 Time in Court:          16 minutes


APPEARANCES:
   Plaintiff: Bradley Endicott, Assistant U.S. Attorney
   Defendant: Doug Olson, Assistant Federal Public Defender
                          X FPD           X To be appointed

   Interpreter/ Language: Esperanza Lopez-Dominquez

   Date Charges Filed: 11/1/2021                           Offense: possession with intent to distribute methamphetamine;
                                                                                illegal alien in possession of a firearm

   X Advised of Rights

on          X Complaint

X Government moves for detention.
Motion is X granted, temporary detention ordered.

Next appearance date is November 4, 2021 at 11:00 a.m. via video conference before U.S. Magistrate Judge
Elizabeth Cowan Wright for:
  X Detention hrg       X Preliminary hrg



Additional Information:
X Defendant consents to this hearing via video conference.
X Oral Rule5(f) Brady notice read on the record.
                                                                                                      s/JAM
                                                                                                  Signature of Courtroom Deputy




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